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                          UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

In Re:                                             )
                                                   )
VINROY W. REID,                                    )        Case No. 18-31436
                                                   )            Chapter 7
               Debtor.                             )
                                                   )
Y2 YOGA COTSWOLD, LLC,                             )
                                                   )       Adversary Proceeding
               Plaintiff,                          )          No. 19-03049
                                                   )
v.                                                 )
                                                   )
VINROY W. REID; V. R. KING                         )
CONSTRUCTION, LLC; A. BURTON                       )
SHUFORD, as Chapter 7 Trustee for V.R. KING        )
CONSTRUCTION, LLC and VINROY REID,                 )
                                                   )
               Defendants.                         )
                                                   )

                REPLY BRIEF OF DEFENDANT A. BURTON SHUFORD,
                        TRUSTEE FOR VINROY W. REID

         NOW COMES A. Burton Shuford, Trustee for Vinroy W. Reid, a defendant herein

(“Defendant”), and hereby makes this Reply memorandum in response to the Supplemental Brief

filed by Plaintiff on May 29, 2020 (ECF No. 51) (“Supplemental Brief”) as follows:

                                 STATEMENT OF FACTS

         The Defendant adopts and includes herein the Statement of Facts as set out in his

Supplemental Brief (ECF No. 48) filed with this Court.
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                                                ARGUMENT


    I. Rushton v. State Bank (In re Gledhill), 164 F.3d 1338, 1342 (10th Cir. 1999) is directly
       applicable to this case

        Plaintiff attempts to distinguish Gledhill when counsel says that “Gledhill involved a

creditor’s deficiency judgment, not an indemnification agreement under which Plaintiff’s cause

of action arguable accrued post-petition.” Supplemental Brief, (ECF No. 51), p. 3.                           This

argument misses the point of Gledhill. The point of Gledhill is that a creditor is not entitled to

attorney’s fees under 11 U.S.C. §506(b) if the creditor’s lien “arose not by agreement but by

operation of law and gave rise only to nonconsensual claim. See: United States v. Ron Pair

Enters., 489 U.S. 235 (1989).” Gledhill, p. 1342. Our case is on all fours with Gledhill regarding

the manner in which the lien arose. Y2’s lien is solely the result of Y2’s judgment lien upon the

real estate of the various debtors and not pursuant to any agreement. 1 Thus, in accordance with

the holding in Gledhill, Plaintiff’s lien arose by operation of law and is a nonconsensual lien

which does not entitle it to the allowance of attorney’s fees under § 506(b).


    II. Legacy Data Access, Inc. v. Cadrillion, LLC, 889 F3d 158 (4th Cir. 2018) 2 is directly
        applicable to this case

Plaintiff in its Supplemental Brief argues that the Legacy Data case:

        …is not instructive as to the issues before the Court in this case. Legacy Data
        concerned statutory legal fees under N.C. Gen. Stat. §6-21.56 (when the court
        finds there is ‘complete absence of a justiciable issue of either law or fact raised
        by the losing party in any pleading’) and N.C. Gen. Stat. §1D-45 (fees may be
        awarded to a party defending against a punitive damages claim when claimant



1
  Plaintiff in its Brief of Y2 Yoga Cotswold, LLC in Support of Motion for Judgment on the Pleading, Alternative
Motion for Summary Judgment [Doc. No. 16] (ECF No. 31) states on page 4, “a) Y2 is the holder of a valid and
unavoidable judgment lien on real property owned by the Debtors;”
2
  See also, Dianne M. Peters, Legacy Data Access, Inc. v. Cadrillion, LLC, et al, Civil Action No 3:15-CV-00163-
FDW-DCK, the opinion of the District Court after remand of the case from the Fourth Circuit. Copy of unreported
case attached to Supplemental Brief of Defendant (ECF No. 48).


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       know (sic) or should have known that the punitive damage claim was frivolous or
       malicious.)” Supplemental Brief, (ECF No. 51), p. 3.

Plaintiff’s counsel is correct that the Legacy Data case does discuss attorney’s fees claims under

N.C. Gen. Stat. §6-21.56 and N.C. Gen. Stat. §1D-45. However, Legacy Data also discusses

attorney’s fees under N.C. Gen. Stat. §6-21.6. The Fourth Circuit, in its opinion given while the

case was on appeal, said:

       Under North Carolina law, ‘[i]f a business contract …contains a reciprocal
       attorneys’ fees provision, the court …may award reasonable attorneys’ fees in
       accordance with the terms of the business contract.’ N.C. Gen. Stat. §6-21.6(c)
       (2015). Legacy Data, p. 168.

The Fourth Circuit then went on to vacate the attorneys’ fees awarded by the district court and

because the Fourth Circuit had ordered a new trial on contract damages and the outcome of the

new trial might very well change the results obtained by the plaintiff, the trial court was required

to reconsider the request for attorneys’ fees under § 6-21.6.

       Finally, the district court in its ruling issued after remand said:

       Plaintiffs have moved for an award of attorney’s fees in the amount of
       $1,463,054.00, pursuant to the APA’s reciprocal attorney’s fee provision and N.C.
       Gen. Stat. §6-21.6. Peters, p. 10.

The above make it beyond dispute that the Legacy Data cases did construe and more importantly

apply § 6-21.6. These cases provide important guidance to this court as it considers Y2’s

attorney’s fee claim.

   III. The Court should determine the reasonableness of Plaintiff’s attorney’s fees pursuant to
        the standards set out in § 6-21.6

       Plaintiff in its Supplemental Brief states that Unsecured Creditors’ Committee v. Walter

E. Heller & Co., Southeast, Inc. 768 F.2d 580 (4th Cir. 1985), requires this court to apply federal

law in its analysis of an attorney’s fee claim. That statement is correct, but Heller does not stand




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for the proposition that State law is to be entirely disregarded when attorney’s fee claims are

analyzed.

         Federal law provides that for attorney’s fees to be allowed, the court must find the fees to

be reasonable. (“The majority view this is that reasonable attorney’s fees can comprise part of

an oversecured creditor’s allowed secured claim. Heller, p. 585). The issue before the Heller

court was: Can a creditor have its attorney’s fee claim allowed pursuant to § 506(b) despite its

failure to comply with the notice requirements of N.C. Gen. Stat. §6-21.2(5)? 3 Heller failed to

give the debtor the notice required under State law, but claimed that, notwithstanding that failure,

under Federal law it was nevertheless entitled to allowance of its attorney’s fees under § 506(b).

The Unsecured Creditor’s Committee objected to allowance of the fees on the basis that the

notice required by § 6-21.2(5) was not given. To resolve this dispute, the Heller court conducted

a very deep dive into the legislative history of § 506(b) as originally passed by Congress in 1978.

As a result of that work, the Fourth Circuit concluded:

         In sum, we conclude that, in rejecting the House version of 506(b), Congress
         intended to abrogate the pre-existing requirement that attorney’s fee agreements
         were enforceable only in accordance with state law. Such agreements are now
         enforceable notwithstanding contrary law. (emphasis added) Heller, p. 585.

The Heller court found that the five day requirement imposed by § 6-21.2(5) was contrary law

which was abrogated by Congress when it passed § 506(b). Thus, the Fourth Circuit held that

“Heller is entitled to enforcement of its attorney’s fee agreement despite its failure to comply

with the North Carolina notice requirement”. Heller p. 585. In a footnote, the Heller court

explained why it found § 6-21.2(5) to be contrary law. It stated

         We reject the argument of the Unsecured Creditor’s committee that N.C. Gen.
         Stat. §6-21.2(5) is not ‘contrary law’. The North Carolina statute, supra n. 3,
         contemplates that a creditor give a debtor five days notice after default.

3
 The notice requirements of § 6-21.2(5) provide that “attorney’s fee agreements are only enforceable after a creditor
gives five days notice to the debtor after default.” Heller, p. 582.


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       Id….Because the purpose of the North Carolina statute is to make attorney’s fee
       agreements unenforceable in certain circumstances, the statute clearly constitutes
       ‘contrary law.’ Heller, p. 585.

       Conversly, §6-21.6 is not contrary law and was not abrogated by Congress when it is

used to gauge the reasonableness of attorney’s fees. Both the N.C Statute and Federal law

require that attorney’s fees, to be allowable, must be reasonable. Section 6-21.6 merely provides

a framework for determining the reasonableness of the attorney’s fee request in the context of

reciprocal attorney’s fee agreements. It is not contrary, but complementary to Federal law and

should be followed by this court in its analysis of Y2’s attorney’s fee claim. As previously

argued, Y2 has failed to support the reasonableness of its claim pursuant to §6-21.6 and, at a

minimum, granting summary judgment is not appropriate.

       WHEREFORE, for the foregoing reasons, the Defendant respectfully prays this Court

deny the Plaintiff’s Motion for Summary Judgment.



This 5th day of June, 2020.

                                            /s/ A. Burton Shuford
                                     A. Burton Shuford, NCBN 10035
                                     4700 Lebanon Road, Suite A-2
                                     Mint Hill, NC 28227
                                     Direct Dial: (980) 321-7000; bshuford@abshuford.com




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SHUFORD, as Chapter 7 Trustee for V.R. KING          )
CONSTRUCTION, LLC and VINROY REID,                   )
                                                     )
                Defendants.                          )
                                                     )

                                  CERTIFICATE OF SERVICE

         The undersigned certifies that on the date set forth below, this was served via the
method noted to the following:

Shelley K. Abel, U.S. Bankruptcy Administrator                          Via Electronic Case Filing
James H. Henderson, Counsel for Y2 Yoga Cotswold, LLC                   Via Electronic Case Filing
Verna Carol Bash-Flowers, Counsel for Vinroy W. Reid                    Via Electronic Case Filing

VR King Construction, LLC
c/o Robert Lewis, Jr.
The Lewis Law Firm, P.A.
P.O. Box 1446
Raleigh, NC 27602

This the 5th day of June, 2020.
                                       /s/ A. Burton Shuford
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                                      4700 Lebanon Road, Suite A-2
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